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                                                                                                        JUL 18X016
                                          UNITED STATES DISTRICT COURT                       ~                ~ _      ~A
                                        'CENTRAL DISTRICT OF CALIFORNIA                      eY                       ~`
     UNITED STATES OF AMERICA,                                    CASE NUMBER:



                                v.
                                                     PLAINTIFF            t ~ —~ ~.c.5— ~~~
       ~,Uv2,~„ ~O ~nv~ ~n~ C~(~,~ s~,                                       DECLARATION RE PASSPORT AND
                                                                               OTHER TRAVEL DOCUMENTS
                                                  DEFENDANT.
                       ~                             ,
  I,      S.,~WQ~I,~   J~1~ n        ~ h t(~TW S~.                                      ,declare that
                             (Defendant/Material Witness)


     ❑     I have never been issued any passport or other travel document by any country. I will not apply
                                                                                                           for a passport or
           other travel document during the pendency of this case.

     ❑     I have been issued a passport or other travel document(s). I will surrender my passport and
                                                                                                         all other travel
           documents) issued to me to the U.S. Pretrial Services Agenry by the deadline irnposed. I will
                                                                                                         not apply for a
           passport or other travel document during the pendency of this case.

     ❑    I am unable to locate my passports) or other travel document{s). If I locate any passport or
                                                                                                               other travel
          document issued to me,I will immediately surrender it to the U.S. Pretrial Services Agency. I will
                                                                                                             not apply for a
          passport or other travel document during the pendency ofthis case.

          My passport and all other travel documents issued to me are in the possession of federal authorities. If
                                                                                                                   any such
          document is returned to me during the pendency of this case, I will immediately surrender it to the U.S. Pretrial
          Services Agency. I will not apply for a passport or other travel document during the pendency ofthis case.


 I declare under penalty of perjury that the foregoing is true and correct.

 Executed this ~ ~      day of  ~ti,~~                           ,20   ~ p
 at    (~o S ~h2,<_~~PS ~   ~~1
                        (City and State)
                                                                              ~v F~   ~l.
                                                                   Signature ofDefendant/Material Witness


Ifthe declarant is not an English speaker, include the following:
I,                                         ,am fluent in written and spoken Engtish and
languages. I accurately translated this form frorr~ English into
to declarant                                                        on this date.


Date:
                                                                   L n ter~irete~

CR-37(05/15)                      DECLARATION RE ~liSSPORT AND OTHER TRAVEL DOCUt✓FENTS
